                                   Case:13-03070-jdg                   Doc #:3 Filed: 04/11/13                Page 1 of 1


                                                          United States Bankruptcy Court
                                                                 Western District of Michigan
             Larry Valentino Garcia
 In re       April Marie Garcia                                                                               Case No.
                                                                              Debtor(s)                       Chapter       13

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.    Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor and that
      compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
      be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                  3,000.00
             Prior to the filing of this statement I have received                                        $                  1,000.00
             Balance Due                                                                                  $                  2,000.00

2.    $     281.00      of the filing fee has been paid.

3.    The source of the compensation paid to me was:
                  Debtor              Other (specify):

4.    The source of compensation to be paid to me is:
                  Debtor              Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

      a.    Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
      b.    Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
      c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
      d.    [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of reaffirmation
                 agreements and applications as needed; preparation and filing of motions pursuant to 11 USC 522(f)(2)(A) for avoidance
                 of liens on household goods.

7.    By agreement with the debtor(s), the above-disclosed fee does not include the following service:
              Representation in dischargeability actions, judicial lien avoidances, adversary proceedings, trustee audits, exemption
              disputes, redemptions, amendments because of incorrect information from client, motions for lift of stay, 707(b) motions,
              or other contested actions or appeals.
                                                                        CERTIFICATION

      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

Dated:       April 11, 2013                                                   /s/ Kristen L. Krol
                                                                              Kristen L. Krol P55103
                                                                              Debt Relief Legal Clinic, PLLC
                                                                              4710 W. Saginaw Highway, Suite 7
                                                                              Lansing, MI 48917-2654
                                                                              (517) 321-6804 Fax: (517) 321-0497
                                                                              debtrlc@drlc.com




Software Copyright (c) 1996-2013 CCH INCORPORATED - www.bestcase.com                                                                       Best Case Bankruptcy
